             Case 4:12-cr-40057-JPG                               Document 35                             Filed 10/31/12             Page 1 of 6    Page ID #121
A0245B        (Rev. 09/ll) Judgment in a Criminal Case
              Sheet l



                                             UNITED STATES DISTRICT COURT
                                                                           Southern District of Illinois
                                                                                                  )
             UNITED STATES OF AMERICA                                                             )           JUDGMENT IN A CRIMINAL CASE
                                  v.                                                              )
                          Keith Foreman                                                           )
                                                                                                  )
                                                                                                              Case Number: 4:12Cr40057-001-JPG
                                                                                                  )           USM Number: 09727-025
                                                                                                  )
                                                                                                  )           Judith A. Kuenneke, AFPD
                                                                                                              Defendant's Attorney
THE DEFENDANT:
li(pleaded guilty to count(s)          1 of the Indictment
D pleaded nolo contendere to count(s)                                                                                                        Ftteo
  which was accepted by the court.
D was found guilty on count(s)                                                                                                              ocr 3t 2012
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense
 j§'l.JiS~i55                     ·•·F~~l't's'te~~f~!R~!~ii~'toH~~ith' Care:iM~~;$ .
                                       ,,   ''"'   '   ''•'   '   ','    ''n   \',   ¢•,'   '"        <   '   '   "-:   :•,O




       The defendant is sentenced as provided in pages 2 through                                   __6___ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                              D is                D are dismissed on the motion of the United States.
               ---------------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economtc circumstances.

                                                                                                      10/30/2012
                                                                                                   Date of Imposition of Judgment




                                                                                                   "~~
                                                                                                   J. Phil Gilbert                                 District Judge
                                                                                                   Name and Title of Judge
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AO 2458       (Rev. 09/ll) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                      Judgment- Page -~2=---- of    6
DEFENDANT: Keith Foreman
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                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 6 months on Count 1 of the Indictment




    0     The court makes the following recommendations to the Bureau of Prisons:




    0     The defendant is remanded to the custody of the United States Marshal.

    ~ The defendant shall surrender to the United States Marshal for this district:
          0     at    _________ 0 a.m.                          0 p.m.       on

          if as notified by the United States Marshal.
    0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0     before 2 p.m. on

          0     as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 a ___________________                                 with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                Case 4:12-cr-40057-JPG                   Document 35          Filed 10/31/12           Page 3 of 6         Page ID #123
AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment   Page _ _ _ of
DEFENDANT: Keith Foreman
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                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 years on Count 1 of the Indictment

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a ftreann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

 D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probatiOn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
         If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     l)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation offtcer;
  10)      the defendant shall[lermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ,11ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
AO 2458   Case
          (Rev.     4:12-cr-40057-JPG
                09/11) Judgment in a Criminal Case   Document 35   Filed 10/31/12       Page 4 of 6       Page ID #124
          Sheet 3C ~Supervised Release
                                                                                             Judgment   Page _ _ _ of
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the restitution in installments of $25.00 or ten
 percent of his net monthly income, over a period of 24 months whichever is greater to commence 30 days after release
 from imprisonment to a term of supervision until paid in full

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility or residential reentry center. Any participation will require
 complete abstinence from all alcoholic beverages, illegal substances, and all other substances for the purposes of
 intoxication. The defendant shall pay for the costs associated with substance abuse counseling and/ or testing based on a
 capay sliding fee scale approved by the United States probation Office. Capay shall never exceed the total costs of
 counseling. The number of tests shall not exceed 52 in a one year period.
AO 2458       Case
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                         Judgment in a Criminal Case   Document 35                    Filed 10/31/12     Page 5 of 6          Page ID #125
            Sheet 5 -Criminal Monetary Penalties
                                                                                                          Judgment- Page           of
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                                               CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                               Fine                             Restitution
TOTALS              $ 100.00                                                 $ 0.00                           $ 496.65


 0     The determination of restitution is deferred until     - -
                                                                             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 fi£ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYIIlent, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is pa1d.




  Center for Medicare & Medicaid Services                                                $248.32               $248.32




 TOTALS                              $ - - - - -496.65
                                                 --
                                                                                             496.65
                                                                                  $- - - - - - --


 0      Restitution amount ordered pursuant to plea agreement $

 0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 r;£    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        r!l the interest requirement is waived for the        0       fine     fi/ restitution.
        0   the interest requirement for the       0   fine       0     restitution is modified as follows:



 • Findings for the total amount oflosses are required under Chapters 109A, 110, !lOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April23, 1996.
AO 2458
               Case 4:12-cr-40057-JPG
           (Rev. 09/11) Judgment in a Criminal Case
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           Sheet 6 ~ Schedule of Payments

                                                                                                                Judgment~ Page    _ _!;6c_ of            6
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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of$                                  due immediately, balance due

           D     not later than                                      , or
           D     in accordance           D     C,     D    D,   D      E, or    '01 F below; or
B     D    Payment to begin immediately (may be combined with                  DC,        D D, or       D F below): or

C     D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                          (e.g., weekly, monthly. quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or

 F    ri/ Special instructions regarding the payment of criminal monetary penalties:
            The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
            commencement of the term of supervised release. The defendant shall pay the restitution in installments of
            $25.00 or ten percent of his net monthly income, over a period of 24 months whichever is greater to commence 30
            days after release from imprisonment to a term of supervision until paid in full


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monegtry penalties is due during
imprisonment. All cruninal monetary penalties, except !hose payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 ri/ Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Sheila McDonald, case 12CR40057-002-JPG. The victims' recovery is limited to the amount of their loss & the
       defendant's liability for restitution ceases if & when victims receive full restitution. The defendant is required to notify the
       Court & Atty. General of any material change in his economic circumstances that would affect his ability to pay
       restitution.
 ri/ The defendant shall pay the cost of prosecution.
 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
